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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ROBERT F. KENNEDY HUMAN
 RIGHTS; SOUTHERN BORDER
 COMMUNITIES COALITION;
 URBAN JUSTICE CENTER,

             Plaintiffs,                       Civil Action No. 25-1270-ACR

               v.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, in her
 official capacity as Secretary of
 Homeland Security,

             Defendants.



       [PROPOSED] ORDER GRANTING TEMPORARY RESTRAINING ORDER

        Upon consideration of Plaintiffs’ motion for a temporary restraining order, and the full

record in this case, it is hereby:

        ORDERED that the motion is GRANTED.

        The Court finds that Plaintiffs have demonstrated a likelihood of success on the merits of

their claims, a likelihood of irreparable harm in the absence of temporary relief, that the balance

of equities tips in their favor, and that a temporary restraining order is in the public interest.

        This Court has subject matter jurisdiction to hear Plaintiffs’ claims, including because

Plaintiffs have demonstrated Article III standing and because Congress has not required that

Plaintiffs’ claims be initially adjudicated by any administrative agency prior to this Court’s

exercise of jurisdiction pursuant to 28 U.S.C. §1331.

        Accordingly, pursuant to this Court’s authority, including but not limited to authority to

“issue all necessary and appropriate process to postpone the effective date of an agency action or
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to preserve status or rights” (5 U.S.C. §705),

       IT IS FURTHER ORDERED that, pending an order by this Court as to whether a

preliminary injunction should issue, Defendants; their officers, agents, servants, employees, and

attorneys; and all persons acting by, through, under, or in concert with these Defendants (referred

to collectively hereinafter as “TRO Defendants”) are hereby enjoined and/or stayed from

terminating, dissolving, closing, or otherwise making inoperable the Department of Homeland

Security Office for Civil Rights and Civil Liberties (CRCL), Office of the Citizenship and

Immigration Services Ombudsman (CISOM), and Office of the Immigration Detention

Ombudsman (OIDO) and its statutory functions.

       IT IS FURTHER ORDERED until further order of this Court, that:

       1. TRO Defendants shall maintain and shall not delete, destroy, remove, or impair any data

or other records relating to CRCL, CISOM, and OIDO covered by the Federal Records Act, except

in accordance with the procedures described in 44 U.S.C. ch. 33;

       2. TRO Defendants shall not terminate any CRCL, CISOM, or OIDO employee, except for

cause related to the specific employee’s performance or conduct;

       3. TRO Defendants shall not terminate any contractors who are or were performing work

for CRCL, CISOM, or OIDO, and shall not terminate any such contracts or order any contractors

to stop performing work for CRCL, CISOM, or OIDO, unless such terminations are based on an

individualized, performance- or conduct-based reason; and either

       4. TRO Defendants shall rescind the RIF notices issued on or about March 21, 2025 to

employees of CRCL, CISOM and OIDO and return to active work status a sufficient number of

existing CRCL, CISOM and OIDO employees to perform the offices’ statutory functions until

Defendants can make longer-term arrangements for the performance of those functions–which



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longer-term functions may, but need not, include retaining those employees in those positions–

with the number of employees sufficient to perform statutory functions to be determined by

Defendants; or

       5. TRO Defendants are enjoined and/or stayed from implementing or enforcing the

reductions in force for CRCL, CISOM, and OIDO noticed on or around March 21, 2025; and

       6. TRO Defendants shall file status reports every three (3) business days during the

pendency of the temporary restraining order detailing their activities taken to comply with the

order and to restore adequate staffing so that the statutory functions of CRCL, CISOM and OIDO

can be performed.

       7. This Order does not disturb the decisions of any CRCL, CISOM, or OIDO employees

who have opted to voluntarily separate from their positions.

       IT IS SO ORDERED.

Dated: May ______, 2025
                                                    ___________________________
                                                    ANA C. REYES
                                                    United States District Judge




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